Case 1:20-cv-01339-JRS-DML Document 32 Filed 07/26/21 Page 1 of 2 PageID #: 114




                                            UNITED STATES DISTRICT COURT
                                                            Southern District of Indiana
                                                               Roger A. G. Sharpe, Clerk of Court

  Birch Bayh Federal Building   U.S. Courthouse, Room 104     Winfield K. Denton Federal Building   Lee H. Hamilton Federal Building
  & U.S. Courthouse, Room 105   921 Ohio Street               & U. S. Courthouse, Room 304          & U.S. Courthouse, Room 210
  46 East Ohio Street           Terre Haute, IN 47807         101 NW Martin Luther King Blvd.       121 West Spring Street
  Indianapolis, IN 46204        (812) 231-1840                Evansville, IN 47708                  New Albany, IN 47150
  (317) 229-3700                                              (812) 434-6410                        (812) 542-4510




                                                                    July 26, 2021

 In re: CLARK V. WALMART STORES EAST, LP
        1:20-CV-01339-JRS-DML

 Dear Anna Clark and Walmart Stores East, LP:

 I have been contacted by Judge James R. Sweeney II who presided over the above-mentioned
 case.

 Judge Sweeney informed me that it has been brought to his attention that while he presided over
 the case he owned stock in Walmart. His ownership of stock neither affected nor impacted his
 decisions in this case. However, his stock ownership would have required recusal under the Code
 of Conduct for United States Judges, and thus, Judge Sweeney directed that I notify the parties of
 the conflict.

 Advisory Opinion 71, from the Judicial Conference Codes of Conduct Committee, provides the
 following guidance for addressing disqualification that is not discovered until after a judge has
 participated in a case:

          [A]judge should disclose to the parties the facts bearing on disqualification as soon
          as those facts are learned, even though that may occur after entry of the decision.
          The parties may then determine what relief they may seek and a court (without
          the disqualified judge) will decide the legal consequence, if any, arising from the
          participation of the disqualified judge in the entered decision.

 Although Advisory Opinion 71 contemplated disqualification after a Court of Appeals oral
 argument, the Committee explained “[s]imilar considerations would apply when a judgment was
 entered in a district court by a judge and it is later learned that the judge was disqualified.”

 With Advisory Opinion 71 in mind, you are invited to respond to Judge Sweeney’s disclosure of
 a conflict in this case. Should you wish to respond, please submit your response on or before
 August 23, 2021. Any response will be considered by another judge of this court without the
 participation of Judge Sweeney.




                                            Visit us at: www.insd.uscourts.gov
Case 1:20-cv-01339-JRS-DML Document 32 Filed 07/26/21 Page 2 of 2 PageID #: 115




                                    Sincerely,




                                    Roger A. G. Sharpe,
                                    Clerk of Court
